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                 IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEW JERSEY



 THE HOMESOURCE, CORP.,             Civil Action No.: 1:18-cv-11970

                    Plaintiff,      Hon. Eduardo C. Robreno (EDPA)
                                    Hon. Ann Marie Donio
       v.

 RETAILER WEB SERVICES, LLC,
 et al.,

                    Defendants.

RETAILER WEB SERVICES, LLC’S REPLY IN SUPPORT OF ITS MOTION
   TO DISMISS THE HOMESOURCE CORP.’S SECOND AMENDED
                   COMPLAINT [DOC. 195]

 Dated: July 27, 2020                Respectfully submitted,

                                     /s/ Ethan Hougah
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                                     Alexandra S. Jacobs
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                                     LLC; Retailer Web Services, LLC; Nationwide
                                     Marketing Group, LLC
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                                      ARGUMENT
       Defendant Retailer Web Services, LLC (“RWS I”) moved to dismiss all of
 HomeSource’s claims against it (Doc. 195), and joined RWS II’s1 related briefing (Doc.
 194). RWS I noted that the Second Amended Complaint (“SAC”) treats RWS I and

 RWS II interchangeably, with no explanation pled as to why, even though they are
 distinct entities. Doc. 164 ¶ 1; cf. Docs. 197 & 199.
       HomeSource did not file a response to RWS I’s opening motion, Doc 195. It did
 not contest that the SAC did not allege nor hint at agency, corporate veil piercing,
 vicarious liability, conspiracy, or any other legal theory under which one legal entity
 could be liable for the alleged acts or omissions of another. It further did not contest

 RWS I’s or RWS II’s corporate disclosure statements. Docs. 197 & 199. HomeSource
 only responded to the named-defendants’ motion, with mischaracterizations and vitriol,
 but without making any legal arguments or citations to authority to support naming
 both RWS I and II. Doc. 219 pp. 24-26 (e.g., calling RWS deceptive and disingenuous).
 While RWS I will not respond in kind,2 it notes that HomeSource provided no response
 to RWS I’s motion, nor any facts supporting naming both RWS I and RWS II as parties.
 Since HomeSource declined to respond to any of these legal arguments, the Court can
 treat them as conceded or waived, and RWS I should be dismissed.


 1
     Retailer Web Services II, LLC d/b/a “Retailer Web Services” and “RWS.”
 2
   Contrary to HomeSource’s claim, no one has represented that RWS I was the
 correct party in interest but that RWS II was not (cf. Doc. 219 p. 25). Rather, RWS I
 simply argued that HomeSource had not met its burden of pleading to state a claim
 against RWS II (see Doc. 59). HomeSource has long been on notice of the separate
 corporate structure of these entities, including from February 1, 2019 and April 5,
 2019 discovery responses. See also Docs. 134, 140-1.

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                                  CONCLUSION
    For all these reasons, Defendant Retailer Web Services, LLC respectfully requests
 that the Court grant its motion to dismiss Plaintiff The HomeSource, Corp.’s Second
 Amended Complaint under Rule 12(b)(6).

  Dated: July 27, 2020                    Respectfully submitted,

                                          /s/ Ethan Hougah
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                             CERTIFICATE OF SERVICE
     I hereby certify that on July 27, 2020, a true and correct copy of the foregoing was
 served via electronic mail upon the following counsel for the Plaintiff:
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                                                One of the attorneys for Counsel for Defendants
                                                Retailer Web Services II, LLC; Retailer Web
                                                Services, LLC; Nationwide Marketing Group,
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